  Case 1:19-cv-02204-LPS Document 3 Filed 12/20/19 Page 1 of 3 PageID #: 25



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


ADAM FRANCHI, individually and On                 Case No. 1:19-cv-02204
Behalf of All Others Similarly Situated,

              Plaintiff,
vs.

AYTU BIOSCIENCE, INC., JOSH
DRISBROW, STEVEN BOYD, GARY
CANTRELL, CARL DOCKERY, JOHN
DONOFRIO, JR., MICHAEL MACALUSO,
AND KETAN MEHTA,

              Defendant.

        JOINT STIPULATION EXTENDING TIME TO RESPOND TO THE
                            COMPLAINT

        Plaintiff Adam Franchi (“Plaintiff”) and Defendants Aytu Bioscience, Inc., Josh

Disbrow, Steven Boyd, Gary Cantrell, Carl Dockery, John Donofrio Jr., Michael Macaluso,

and Ketan Mehta (collectively “Defendants”), by counsel, hereby stipulate and agree as

follows:

        WHEREAS, Plaintiff filed the above-captioned action on November 26, 2019;

        WHEREAS, Defendants’ deadline to respond to the Complaint is December 17,

2019;

        WHEREAS, given numerous scheduling conflicts present in December and

January, the Parties have agreed to extend the deadline for Defendants to answer, or

otherwise respond to the Complaint to and including February 17, 2020.
  Case 1:19-cv-02204-LPS Document 3 Filed 12/20/19 Page 2 of 3 PageID #: 26




      IT IS HEREBY JOINTLY STIPULATED AND REQUESTED THAT Defendants
deadline to answer or otherwise respond to the Complaint be extended to and including
February17, 2020.




Dated: December 20, 2019           DORSEY & WHITNEY (DELAWARE) LLP

                                   /s/ Alessandra Glorioso
                                   Eric Lopez Schnabel (DE Bar No. 3672)
                                   Alessandra Glorioso (DE Bar No. 5757)
                                   300 Delaware Avenue, Suite 1010
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 425-7171
                                   Facsimile: (302) 425-7177
                                   E-mail: schnabel.eric@dorsey.com
                                            glorioso.alessandra@dorsey.com

                                   -and-

                                   DORSEY & WHITNEY LLP
                                   Milo Steven Marsden
                                   111 S. Main Street, Suite 2100
                                   Salt Lake City, UT 84111
                                   Telephone: (801) 933-7360
                                   Facsimile: (801) 933-7373
                                   E-mail: marsden.steve@dorsey.com

                                   Attorneys for Defendants Aytu Bioscience, Inc.,
                                   Josh Disbrow, Steven Boyd, Gary Cantrell, Carl
                                   Dockery, John Donofrio, Jr., Michael Macaluso,
                                   and Ketan Mehta




                                           2
  Case 1:19-cv-02204-LPS Document 3 Filed 12/20/19 Page 3 of 3 PageID #: 27



Dated: December 20, 2019       RIGRODSKY & LONG, P.A.

                               /s/ Brian D. Long
                               Seth D. Rigrodsky (#3147)
                               Brian D. Long (#4347)
                               Gina M. Serra (#5387)
                               300 Delaware Avenue, Suite 1220
                               Wilmington, DE 19801
                               Telephone: (302) 295-5310
                               Facsimile: (302) 654-7530
                               Email: sdr@rl-legal.com
                               Email: bdl@rl-legal.com
                               Email: gms@rl-legal.com

                               -and-

                               RM Law, P.C.
                               Richard A. Maniskas
                               1055 Westlakes Drive, Suite 300
                               Berwyn, PA 19312
                               Telephone: (4084) 324-6800
                               Facsimile: (484) 631-1305
                               Email: rm@maniskas.com

                               Attorneys for Plaintiff


SO ORDERED.




Date                                   District Court Judge




                                       3
